                                IN THE UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF IOWA
                                                            CENTRAL DIVISION
LORI NICHOLSON and WILLIS W. NICHOLSON,                                             HEARING MINUTES                             Sealed:   No
               Plaintiffs,                                                              Case No.:      18-cv-3057-CJW-KEM
                                                                               Presiding Judge:        C.J. Williams
BIOMET, INC.; BIOMET ORTHOPEDICS, LLC; BIOMET                                     Deputy Clerk:        Daniel Moeller
MANUFACTURING CORP.; and BIOMET U.S.
RECONSTRUCTION, LLC,
               Defendants.                                                Official Court Record:       Patrice Murray         Contract?   No
                                                                           Contact Information:        Patrice_murray@iand.uscourts.gov
Date:   11/9/2020     Start:     8:29 AM         Adjourn:       5:17 PM    Courtroom:      Cedar Rapids, Courtroom 3
Recesses:   10:29 AM-10:45 AM; 1:18 PM-2:02 PM;        Time in Chambers:                                    --              Telephonic?   No
            3:56 PM-4:10 PM
Appearances: Plaintiff(s):   Jeff Haberman, Bryan Hofeld, Sarah Schultz
              Defendant(s):        Joe Price, Tom Joensen, Justin Cashman (Biomet representative), Stephanie Russo
              US Probation:        ---
              Interpreter:         ---                                      Language:     ---           Certified:   ---    Telephone:    ---
TYPE OF PROCEEDING:                                   IS THE HEARING         Contested?         Yes    Continued from a previous date?    No
  TRIAL:      Jury:    X       Non-jury:           Day:     1
              Motion(s):                   ---                                          Ruling:       ---
              Time:                        Event:
               8:25 AM–9:01 AM             Pre-trial conference with parties. The Court addressed jury selection questions from the
                                           parties. The Court distributed jury instructions, including a final draft of Instruction Nos. 1-
                                           19. Plaintiffs had no objections. Defendants objected to No. 17 and what was previously
                                           posed as No. 20. Court overruled objections at this time, defendants can renew objections
                                           later. Court addressed motions in limine (Doc. 385). The motions in limine are granted in
                                           part, denied in part, and held in abeyance in part
                                           Court addressed deposition designations.
               9:08 AM-9:12 AM             Jury brought in.
               9:12 AM-10:27 AM            Initial jury oath administered. Voir dire.
                      10:27 AM             Jury excused for recess.
                10:27 AM-10:29             Outside the presence of jury.
                      AM
                10:29 AM-10:46             Recess.
                      AM
                   10:47 AM                Jury brought back in.
              10:47 AM-12:45 PM            Voir dire continues. Motions to dismiss for cause.
                      12:45 PM             Jury excused.
               12:45 PM-1:02 PM            Outside presence of the jury. Parties given time to discuss peremptory strikes. Peremptory
                                           strikes exercised.
                1:02 PM-1:06 PM            Jury brought back in. Final jury sworn in. Jury excused for lunch until 2:20 PM.
               1:07 PM -1:11 PM            Outside the presence of the jury. Discussed schedule for the rest of the day and deposition
                                           designations.
                1:11 PM-1:19 PM            Recess.
                1:19 PM-1:21 PM            Outside presence of the jury. Discussed demonstrative aides.


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 1:21 PM-2:02 PM    Recess.
 2:02 PM-2:20 PM    Outside the presence of the jury. Discussed objections to demonstratives. Discussed
                    objections to deposition designations.
     2:24 PM        Jury brought back in.
 2:25 PM-2:51 PM    Read jury instructions.
 2:52 PM-3:53 PM    Plaintiffs’ opening statement.
     3:54 PM        Jury excused for recess
 3:55 PM-3:56 PM    Outside the presence of the jury. Brief discussion on order in limine issue.
 3:56 PM-4:12 PM    Recess.
     4:12 PM        Jury brought back in.
 4:12 PM-5:12 PM    Defense opening statement.
     5:14 PM        Jury excused.
 5:14 PM-5:17 PM    Outside the presence of the jury. Discussed daily scheduling.
     5:17 PM        Recess.



     Verdict:       To be filed at conclusion of trial.
  Witness/Exhibit   To be filed at conclusion of trial.
      List is




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